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         ORDERED in the Southern District of Florida on February 5, 2024.




                                                              Erik P. Kimball
                                                              Chief United States Bankruptcy Judge
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                        WEST PALM BEACH DIVISION

         In re:

         MOLEKULE GROUP, INC.,                                       Case No. 23-18094-EPK
                                                                     (Jointly Administered)

         MOLEKULE, INC.                                              Case No. 23-18093-EPK

               Debtors.                                              Chapter 11
         ________________________________/

                                  ORDER CONFIRMING DEBTORS’
                          MODIFIED CHAPTER 11 PLAN OF REORGANIZATION

                  This matter came before the Court for evidentiary hearing on January 18-19, 2024, and for

         oral ruling on January 22, 2024, (the “Confirmation Hearing”) to consider confirmation of the

         Debtors’ Modified Amended Joint Plan of Reorganization [ECF No. 317] (together with any

         amendments or modifications thereto, the “Plan”) filed by Molekule Group, Inc. and Molekule,

         Inc. (together, the “Debtors”).




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       The Court, having considered the Plan, the Declaration of Ryan Tyler in Support of

Confirmation of the Debtors’ Modified Amended Plan of Reorganization [ECF No. 362] (the

“Confirmation Declaration”), the Certificate of Proponent of Plan on Acceptance of Plan, Report

on Amount to be Deposited, Certificate of Amount Deposited and Payment of Fees [ECF No. 361],

the Notice of Filing Assumption List [ECF No. 241] (the “Assumption List”), the Expedited Motion

for Order Determining the Modified Plan Does Not Require Re-solicitation [ECF No. 319] (the

“Motion to Modify”), having taken judicial notice of Debtors’ Exhibits 23-28, 31-33, and 49 and

Creditor’s Exhibits 1, 2, 12, 42, and 49 and admitted into evidence Debtors’ Exhibits 1-7, 19-22,

29, 30, 34-48, and 50-53 and Creditor’s Exhibits 3-11, 13-41, 43-48, and 50-56 contained in the

Debtor’s Amended Exhibit Register [ECF No. 364] and the Creditor’s Exhibit Register [ECF No.

365], having considered the evidence presented at the hearing, including the testimony of

witnesses, the arguments of counsel, the Objection to Debtors’ Modified Amened Joint Plan of

Reorganization [ECF No. 355] filed by Mack Molding Company, Inc. (“Mack”) and the Debtors’

Response thereto [ECF No. 366], and pursuant to Rule 7052 of the Federal Rules of Bankruptcy

Procedure, makes the following findings of fact and conclusions of law:

                            Findings of Fact and Conclusions of Law

       Notice

       A.       Adequate and sufficient notice, as required by the Bankruptcy Code, the Federal

Rules of Bankruptcy Procedure, and the Court’s Order (I) Approving Disclosure Statement; (II)

Setting Hearing on Confirmation of Amended Plan; (III) Setting Hearing on Fee Applications;

(IV) Describing Various Deadlines; and (V) Describing Debtor’s Obligations [ECF No. 165] was

provided to all known creditors, the Office of the U.S. Trustee, and other parties in interest of: (1)

the Plan and the Disclosure Statement for Debtors’ Amended Joint Plan of Reorganization [ECF

No. 148] (the “Disclosure Statement”), (2) the deadline to file and serve objections to confirmation



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of the Plan; (3) the deadline for voting on the Plan; (4) the proposed modifications contained in

the Motion to Modify; (5) the Assumption List; and (6) the Confirmation Hearing.

           Jurisdiction and Venue

           B.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the District Court for the Southern District of Florida’s general order of reference.

Confirmation of the Plan is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this

district under 28 U.S.C. §§ 1408 and 1409.

           Adequate Information and Solicitation

           C.       The Disclosure Statement contains adequate information regarding the Plan in

accordance with 11 U.S.C. § 1125(1). The Debtors, Reorganized Debtor, and their respective

present and former members, officers, directors, employees, advisors, attorneys, and agents acted

in good faith and in compliance with the Bankruptcy Code within the meaning of and with respect

to all of the actions described in 11 U.S.C. § 1125(e) and are not liable, on account of any

solicitation or participation, for violation of any applicable law, rule, or regulation governing

solicitation of acceptance or rejection of a plan or the offer, issuance, sale, or purchase of securities.

           11 U.S.C. § 1129(a)(1)

           D.       The Plan complies with the applicable provisions of the Bankruptcy Code,

including without limitation 11 U.S.C. §§ 1122, 1123, and 1129 with respect to all Classes of

Claims and Interests under the Plan and, therefore, the provisions of 11 U.S.C. § 1129(a)(1) have

been satisfied.1




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    Unless otherwise defined, any capitalized terms herein shall have the same meaning ascribed to them in the Plan.



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       11 U.S.C. § 1129(a)(2)

       E.         The Debtors, as proponents of the Plan, have complied with the applicable

provisions of the Bankruptcy Code. Accordingly, the requirements of 11 U.S.C. § 1129(a)(2) have

been satisfied.

       11 U.S.C. § 1129(a)(3)

       F.         The Plan has been proposed in good faith and not by any means forbidden by law.

Accordingly, the requirements of 11 U.S.C. § 1129(a)(3) have been satisfied.

       11 U.S.C. § 1129(a)(4)

       G.         Any payments made or to be made by the Debtors for services or for costs and

expenses in or in connection with the case, or in connection with the Plan and incident to the case,

have been approved by, or are subject to the approval of, this Court as reasonable. Accordingly,

the requirements of 11 U.S.C. § 1129(a)(4) have been satisfied.

       11 U.S.C. § 1129(a)(5)

       H.         The Debtors, as the proponents of the Plan, have disclosed the identity and

affiliations of the individuals proposed to continue to serve as a director or officer, if any, of the

Reorganized Debtor. The appointment to, or continuance in, such office of such individuals is

consistent with the interests of creditors and equity security holders and with public policy.

Accordingly, the requirements of 11 U.S.C. § 1129(a)(5)(A) have been satisfied.

       I.         The Debtors, as the proponents of the Plan, have disclosed the identity of any

insider that will be employed or retained by the Reorganized Debtor, if any, and the nature of any

compensation for such insider. Accordingly, the requirements of 11 U.S.C. § 1129(a)(5)(B) have

been satisfied.




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        11 U.S.C. § 1129(a)(6)

        J.     No governmental regulatory commission has jurisdiction over the rates of the

Debtors or the Reorganized Debtor. Accordingly, the requirements of 11 U.S.C. § 1129(a)(6) are

not applicable to the Debtors or the Case.

        11 U.S.C. § 1129(a)(7)

        K.     The Plan treats Classes 1, 2, 3, 8, 9, and 10 as Impaired. Classes 1, 2, 3, and 8 voted

in favor of the Plan and have accepted the Plan.

        L.     With respect to each Impaired Class of Claims or Interests, each holder of an

Interest or Clam has either accepted the Plan, consented to the Plan, or will receive or retain, under

the Plan on account of such claim or interest, property of a value, as of the Effective Date of the

Plan, that is not less than the amount that such holder would receive or retain if the Debtors were

liquidated under chapter 7 of the Bankruptcy Code on such date. Accordingly, the requirements

of 11 U.S.C. § 1129(a)(7) have been satisfied with respect to each Impaired Class of Claims or

Interests.

        11 U.S.C. § 1129(a)(8)

        M.     The Plan divides Claims and Interests into 10 classes. Classes 1, 2, 3, 8, 9, and 10

are Impaired. Classes 1, 2, 3, and 8 voted to accept the Plan. Classes 4, 5, 6, and 7 are Unimpaired.

Classes 9 and 10 receive or retain no property under the Plan and are deemed not to accept the

Plan. Accordingly, the requirements of 11 U.S.C. § 1129(a)(8) have not been satisfied with respect

to each class of Claims or Interests.

        11 U.S.C. § 1129(a)(9)

        N.     The Plan provides that all Allowed Administrative Claims, Allowed Priority

Claims, and Allowed Unsecured Priority Claims, if any, are to be paid on the Effective Date, the



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date on which such claims become payable pursuant to Final Order of the Court, or as otherwise

provided in the Plan. Accordingly, the requirements of 11 U.S.C. § 1129(a)(9) have been satisfied.

       11 U.S.C. § 1129(a)(10)

       O.      The Plan treats Classes 1, 2, 3, 8, 9, and 10 as Impaired. Classes 1, 2, 3, and 8 voted

in favor of the Plan and therefore have accepted the Plan. Accordingly, based upon the acceptance

of Classes 1, 2, 3, and 8, the requirements of 11 U.S.C. § 1129(a)(10) have been satisfied with

respect to one Impaired Class of Claims accepting the Plan, not including acceptance of the Plan

by any Insiders.

       11 U.S.C. § 1129(a)(11)

       P.      Confirmation of the Plan is not likely to be followed by any liquidation, or the need

for further financial reorganization of the Debtors or any successors to the Debtors under the Plan,

except to the extent proposed in the Plan. Accordingly, the requirements of 11 U.S.C. §

1129(a)(11) have been satisfied.

       11 U.S.C. § 1129(a)(12)

       Q.      The Plan provides for payment in full of all U.S. Trustee fees payable under 28

U.S.C. § 1930 and all fees payable under Section 1930 of Title 28. To the extent any fees remain

due and owing, they will be paid on the Effective Date of the Plan. Accordingly, the requirements

of 11 U.S.C. § 1129(a)(12) have been satisfied.

       11 U.S.C. § 1129(a)(13)

       R.      The Debtors have no retirement plan, and the Debtors therefore have no obligation

to provide retiree benefits, as that term is defined in 11 U.S.C. § 1114. Accordingly, 11 U.S.C. §

1129(a)(13) is not applicable.




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        11 U.S.C. § 1129(a)(14)

        S.      The Debtors are not required by judicial or administrative order, or by statute, to

pay any domestic support obligations. Accordingly, the requirements of 11 U.S.C. § 1129(a)(14)

are not applicable to the Debtors or the Case.

        11 U.S.C. § 1129(a)(15)

        T.      The Debtors are not individuals. Accordingly, the requirements of 11 U.S.C. §

1129(a)(15) are not applicable to the Debtors or the Case.

        11 U.S.C. § 1129(a)(16)

        U.      The Debtors are not non-profit corporations or trusts.          Accordingly, the

requirements of 11 U.S.C. § 1129(a)(16) are not applicable to the Debtors or the Case.

        11 U.S.C. § 1129(b)

        V.      Classes 9 and 10 are Impaired and have not accepted the Plan. The Plan does not

discriminate unfairly and is fair and equitable with respect to Classes 9 and 10. Accordingly, the

requirements of 11 U.S.C. § 1129(b) are satisfied with respect to each class of claims or interests

that is Impaired under, and has not accepted, the Plan.

        Oral Findings Incorporated by Reference

        W.      The Court’s oral findings of fact and conclusions of law announced on the record

at the Confirmation Hearing are incorporated by this reference.

        Requirements for Confirmation Satisfied

        X.      All of the requirements for Confirmation under 11 U.S.C. § 1129 have been

satisfied. Confirmation of the Plan is in the best interests of the Debtors’ estates, the Debtors’

Creditors, and all other parties in interest.




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       Substantive Consolidation

       Y.       Substantial identity exists between the Debtors, and consolidation is necessary to

avoid harm and realize benefit to the Debtors’ estates. Accordingly, substantive consolidation of

the Debtors is appropriate.

       It is therefore ORDERED AND ADJUDGED as follows:

       1.       Confirmation of Plan.      The Plan [ECF No. 317], as modified herein, is

CONFIRMED and APPROVED in all respects in accordance with 11 U.S.C. § 1129.

       2.       Objections. Any and all objections to confirmation of the Plan not withdrawn,

settled, waived or otherwise addressed in this Confirmation Order, and all reservations of rights

included therein, are expressly OVERRULED.

       3.       Fed. R. Bankr. P. 7052. The Findings of Fact and Conclusions of Law set forth

above shall constitute findings of fact and conclusions of law of this Court pursuant to Rule 7052

of the Federal Rules of Bankruptcy Procedure. To the extent any finding of fact shall later be

determined to be a conclusion of law, it shall be so deemed, and to the extent any conclusion of

law later shall be determined to be a finding of fact, it shall be so deemed.

       4.       Notice. Notice was adequate and sufficient under the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules and Orders of this Court, and the Due Process Clause of the

United States Constitution.

       5.       Effective Date. The Effective Date shall occur upon all conditions precedent to the

Effective Date set forth in Section 9.01 of the Plan being satisfied or waived pursuant to the terms

of the Plan.

       6.       Reorganized Debtor and Substantive Consolidation.          On the Effective Date,

Molekule, Inc. shall be substantively consolidated into Molekule Group, Inc. The Reorganized

Debtor shall be Molekule Group, Inc., as reorganized pursuant to the Plan.



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        7.     Approval of Documents. Subject to satisfaction or waiver of all conditions under

Section 9.01 of the Plan, such documents that may be necessary or appropriate to effectuate the

Plan and the treatment terms contained therein are APPROVED.

        8.     Authority of Reorganized Debtor. The Reorganized Debtor is authorized and

directed to take all actions necessary or appropriate to consummate the terms and conditions of the

Plan and this Confirmation Order and to enter into, implement, and consummate the contracts,

instruments, releases, settlements, and other agreements or documents required or created in

connection with the Plan. The Reorganized Debtor shall continue to exist after the Effective Date

with all powers of a corporation under the laws of the State of Delaware and without prejudice to

any right to alter or terminate such existence (whether by merger or otherwise) under applicable

law; and, following the Effective Date, the Reorganized Debtor may operate its business free of

any restrictions imposed by the Bankruptcy Code, the Bankruptcy Rules, or by the Court, subject

only to the terms and conditions of the Plan (including, but not limited to, Section 9.01(ii)) and

this Confirmation Order.

        9.     Plan Administrator. The Plan Administrator shall be Scott N. Brown, and the

Reorganized Debtors may file an appropriate motion or application to employ Mr. Brown as the

Plan Administrator.

        10.    Disbursing Agent. On the Effective Date, the Disbursing Agent shall be the Plan

Administrator. Upon the Effective Date, unless provided otherwise herein or in the Plan, the

Disbursing Agent shall make all distributions under the Plan in accordance with the terms of the

Plan.

        11.    Default on Payments to IRS. If the Reorganized Debtor substantially defaults on

the Plan Payments to the IRS, the outstanding balance will be immediately due and payable.

Payment shall be for the entire amount owed to the IRS under the Plan. The IRS may collect these



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unpaid tax liabilities through the administrative collection provisions of the Internal Revenue

Code.

        12.    Avoidance Actions.      The definition of the terms “Avoidance Action” and

“Avoidance Actions” as defined in Article I of the Plan shall also include any pre-Effective Date

claims against the Debtors’ directors and/or officers to the extent insurance coverage exists under

any Debtor pre-Effective Date director and/or officer insurance policy for the defense and

indemnity of such claim.

        13.    Assumption of Certain Unexpired Leases and Executory Contracts. Pursuant to 11

U.S.C. §§ 365(a) and 1123(b)(2) and Sections 7.01 and 7.02 of the Plan, the unexpired leases and

executory contracts set forth in the Assumption List are hereby ASSUMED. Pursuant to 11 U.S.C.

§§ 365(b) and Section 7.02 of the Plan, except as may otherwise be agreed to by the parties or

provided in the Plan, within ninety (90) days following the Effective Date of the Plan, the

Reorganized Debtor shall cure any and all undisputed defaults under any executory contract or

unexpired lease as set forth in the Assumption List.

        14.    Rejection of Certain Unexpired Leases and Executory Contracts. Pursuant to 11

U.S.C. §§ 365(a) and 1123(b)(2) and Sections 7.01 and 7.03 of the Plan, all unexpired leases and

executory contracts between either of the Debtors and any other party not otherwise assumed in

the Plan or this Confirmation Order, are hereby REJECTED. Pursuant to Section 7.03 of the

Plan, any party to a contract or lease rejected pursuant to the Plan with a claim for rejection

damages under 11 U.S.C. § 502(g) (“Rejection Claim”) may file such Rejection Claim with the

Court within thirty (30) days from the date of entry of this Confirmation Order and, if filed, shall

serve a copy on the Debtors or Reorganized Debtor (as applicable) and its undersigned bankruptcy

counsel (the “Rejection Claim Bar Date”). As provided in Section 6.05(a) of the Plan, any

objection to a Rejection Claim must be filed within five (5) days of the filing of such Rejection



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Claim. Pursuant to Sections 5.08 and 7.03 of the Plan, all Rejection Claims, if allowed, shall be

treated in Class 8 Other General Unsecured Claims and Rejection Claims under the Plan. ANY

CREDITOR WHO FAILS TO FILE A REJECTION CLAIM ON OR BEFORE THE

REJECTION CLAIM BAR DATE WILL BE FOREVER BARRED, ESTOPPED, AND

ENJOINED FROM ASSERTING SUCH REJECTION CLAIM AGAINST THE

DEBTORS AND THEIR ESTATE, AND THE DEBTORS AND THEIR CHAPTER 11

ESTATE, SUCCESSOR, AND PROPERTY WILL BE FOREVER DISCHARGED FROM

ANY AND ALL INDEBTEDNESS OR LIABILITY WITH RESPECT TO SUCH CLAIM.

IN ADDITION, THE HOLDER OF SUCH REJECTION CLAIM SHALL NOT BE

PERMITTED TO PARTICIPATE IN ANY DISTRIBUTION IN THE CHAPTER 11 CASE

ON ACCOUNT OF SUCH CLAIM OR RECEIVE FURTHER NOTICES REGARDING

SUCH CLAIM.

       15.     Discharge. Except as otherwise expressly provided in the Plan, the Confirmation

Order and/or a separate order of the Court, the rights afforded herein and the treatment of all

Claims and Equity Interests herein shall be in exchange for and in complete satisfaction,

discharge and release of Claims and Equity Interests of any nature whatsoever, including any

interest accrued on such Claims from and after the Petition Date, against the Debtors and the

Debtors in Possession, the Estates, or any of the assets or properties under the Plan. Except as

otherwise expressly provided in the Plan, the Confirmation Order and/or a separate order of the

Court, (i) on the Effective Date, all such Claims against the Debtors, and Equity Interests in the

Debtors shall be satisfied, discharged and released in full, and (ii) all Persons shall be precluded

and enjoined from asserting against the Reorganized Debtor, its successors, its assets or

properties, any other or further Claims or Equity Interests based upon any act or omission,

transaction or other activity of any kind or nature that occurred prior to the Confirmation Date,



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whether or not such holder has filed a proof of claim or proof of equity interest and whether or

not such holder has voted to accept or reject the Plan. Notwithstanding the foregoing, nothing

in the Plan shall release, discharge, enjoin or preclude any Claim that has not arisen as of the

Effective Date that any governmental unit may have against the Debtors and nothing in the

Plan shall release, nullify or enjoin the enforcement of any liability to a governmental unit

under environmental statutes or regulations that any entity would be subject to as the owner or

operator of property after the date of entry of the Confirmation Order.

       16.     Injunction Related to Discharge. Except as otherwise expressly provided in the

Plan, the Confirmation Order and/or a separate order of the Court, all Persons who have held,

hold or may hold Claims against the Debtors, or Equity Interests in the Debtors, are permanently

enjoined, on and after the Effective Date, from (i) commencing or continuing in any manner

any action or other proceeding of any kind with respect to any such Claim or Equity Interest,

(ii) enforcing, attaching, collecting or recovering by any manner or means of any judgment,

award, decree or order against the Debtors, on account of any such Claim or Equity Interest,

(iii) creating, perfecting or enforcing any Lien or asserting control of any kind against the

Debtors or against the property or interests in property of the Debtors on account of any such

Claim or Equity Interest, and (iv) asserting any right of setoff, subrogation or recoupment of

any kind against any obligation due from the Debtors or against the property or interests in

property of the Debtors on account of any such Claim or Equity Interest. Such injunctions shall

extend to successors of the Debtors (including, without limitation, the Reorganized Debtor) and

their respective properties and interests in property.

       17.     Injunction Against Interference with the Plan. All holders of Claims and Equity

Interests and other parties in interest, along with their respective present or former employees,

agents, officers, directors, or principals, shall be enjoined from taking any actions to interfere



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with the implementation or consummation of the Plan, except with respect to actions any such

entity may take in connection with the pursuit of appellate rights.

       18.     Release by Estates of Officers, Managers, and Directors.          Notwithstanding

anything contained in the Plan, other than Section 11.04 which is separate and in addition to

Section 8.14, pursuant to section 1123(b) Code, for good and valuable consideration, the

adequacy of which is hereby confirmed, on and after the Effective Date, each OMD Released

Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever

released and discharged by each and all of the Debtors, the Reorganized Debtor, and their

respective Estates, in each case on behalf of themselves and their respective successors, assigns,

and representatives, and any and all other entities who may purport to assert any claim, Action,

Avoidance Action, or cause of action, directly or derivatively, by, through, for, or because of the

foregoing entities, from any and all claims, Actions, Avoidance Actions, or causes of action

including any derivative claims, asserted or assertible on behalf of any of the Debtors, whether

known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter

arising, in law, equity, contract, tort or otherwise, that the Debtors, the Reorganized Debtor, or

their Estates would have been legally entitled to assert in their own right (whether individually

or collectively) or on behalf of the holder of any Claim against or Interest in a Debtor or any

other Entity, (collectively, the "Debtor Releases"). Notwithstanding anything herein to the

contrary other than Section 11.04 of the Plan, the Debtor Releases will not: (i) apply to any pre-

Effective Date claims against Debtors’ directors and/or officers to the extent insurance coverage

exists under any Debtor pre-Effective Date director and/or officer insurance policy for the

defense and indemnity of such claim (herein an “Insured Claim”). In the event of an Insured

Claim such director’s and/or officer’s sole liability and responsibility for any judgment arising

from such claim shall be strictly limited to the amount actually paid out, if any, by the insurance



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company under such insurance policy, and any director and/or officer liability and

responsibility for any and all other amounts are forever released by Section 8.14 of the Plan; or

(ii) release post-Effective Date obligations of any entity under the Plan or any other document,

instrument, or agreement executed to implement the Plan (unless expressly cancelled by the

Plan); or (iii) affect such releasing parties' rights that remain in effect from and after the

Effective Date to enforce the Plan or as otherwise provided in any order of the Bankruptcy

Court.

         19.    Exculpation. Subject to the occurrence of the Effective Date, neither the Debtors,

the Reorganized Debtor, nor any parties to the Restructuring Support Agreement assumed by

the Debtors pursuant to the Court’s authorization thereof, or any of their respective

professionals, officers, directors, agents, financial advisors, attorneys, employees, equity

holders, partners, affiliates and representatives (the “Exculpated Parties”) shall have or incur

any liability to any holder of a Claim or Equity Interest for any act or omission in connection

with, related to, or arising out of, the cases of the Debtors, the negotiation, execution, or

performance of the Restructuring Support Agreement and the transactions contemplated

thereby, the negotiation, execution, or performance of the DIP Financing, the Plan, the pursuit

of confirmation of the Plan, the consummation of the Plan or the administration of the Plan or

the property to be distributed under the Plan; provided, however, that the foregoing shall not

operate as a waiver or release for (i) any express contractual obligation owing by any such

Person, (ii) willful misconduct or gross negligence, and (iii) with respect to professionals,

liability arising from claims of professional negligence which shall be governed by the standard

of care otherwise applicable to professional negligence claims under applicable non-bankruptcy

law, and, in all respects, the Exculpated Parties shall be entitled to rely upon the advice of

counsel with respect to their duties and responsibilities under the Plan; provided further that



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nothing in the Plan shall, or shall be deemed to, release the Exculpated Parties, or exculpate

the Exculpated Parties with respect to, their respective obligations or covenants arising pursuant

to the Plan; provided further that the foregoing shall not operate as a waiver or release of Claims

by governmental entities arising under environmental laws.

       20.     Injunction Relating to Exculpation. All holders of Claims and Equity Interests

and other parties in interest, along with their respective present or former employees, agents,

officers, directors, or principals, shall be enjoined from the commencement or prosecution by

the Debtors, the Reorganized Debtor, and any other Person, whether derivatively or otherwise,

of any Action or causes of action exculpated, released, or discharged pursuant to the Plan

against the Exculpated Parties.

       21.     Automatic Stay. Unless otherwise provided in the Plan or this Confirmation Order,

all injunctions or stays provided for in the Case under 11 U.S.C. §§ 105 or 362 or otherwise, and

extant on the Confirmation Date, shall remain in full force and effect until the Effective Date. The

Court shall retain exclusive jurisdiction to enforce all injunctions or stays provided for under the

Plan and this Confirmation Order.

       22.     Except as otherwise provided for in the Plan or the documents, instruments, and

agreements entered into by the Reorganized Debtor pursuant to the Plan, all property of the estate

vests in the Reorganized Debtor free and clear of all claims and interests.

       23.     This Order is in recordable form and shall be accepted by any filing or recording

officer or authority of any applicable governmental unit, office, or agency for filing and recording

purposes without further or additional orders, certifications, or other supporting documents.

       24.     Pursuant to 11 U.S.C. § 1146(a), the issuance, transfer or exchange of notes or

equity securities under the Plan, creation of any mortgage, deed of trust or other security interest,

the making or assignment of any lease or sublease, or the making or delivery of any instrument of



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transfer under, in furtherance of, or in connection with the Plan, any merger agreements or

agreements of consolidation, deeds, bills of sale or assignments, or any other documents executed

in connection with any of the transactions contemplated by the Plan, and related loan and security

documents, shall not be subject to any stamp, real estate transfer, mortgage recording, or other

similar tax.

        25.     On the Effective Date, all matters provided for under the Plan that would otherwise

require approval of the directors of the Debtors or the Reorganized Debtor or their successors in

interest under the Plan shall be deemed to have occurred and shall be in full force and effect from

and after the Effective Date pursuant to the applicable general corporation law, without any

requirement of further action by the directors of the Debtors or Reorganized Debtor.

        26.     Until the Effective Date, the Debtors shall continue to file the UST Form 11-MOR,

Monthly Operating Report and shall timely pay the U.S. Trustee the appropriate sums required

pursuant to 28 U.S.C. § 1930(a)(6) (the “Quarterly Fees”). Within two business days of the

Effective Date, the Reorganized Debtor and any other authorized parties who have been charged

with administering the Plan shall file a Notice of Occurrence of the Effective Date, identifying the

Effective Date and indicating that it has occurred. Following the Effective Date, the Reorganized

Debtor and any other authorized parties who have been charged with administering the Plan shall

file the UST Form 11-PCR, Post confirmation Report, every calendar quarter and shall timely pay

the U.S. Trustee Quarterly Fees until the earlier of: (1) the entry of a final decree; (2) the conversion

of the case to a case under another chapter; or (3) the dismissal of the case.

        27.     Under 11 U.S.C. §§ 105(a) and 1142, and notwithstanding entry of this

Confirmation Order and the occurrence of the Effective Date, and except as otherwise ordered by

the Court, the Court shall retain exclusive jurisdiction over all matters arising out of, and related




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to, the Case, the Plan, and this Confirmation Order to the fullest extent permitted by law, including,

without limitation, to the matters set forth in Article X of the Plan.

        28.     The Debtors shall serve a copy of this Order upon all parties entitled to notice

thereof pursuant to Bankruptcy Rule 3020(c), and Local Rules 2002-1(C)(11) and 3020-1(D), and

shall file a certificate of service with the Court.

                                                      ###
Submitted by:

Bradley S. Shraiberg, Esq.
Eric S. Pendergraft, Esq.
SHRAIBERG PAGE P.A.
Attorneys for the Debtor
2385 NW Executive Center Drive, Suite 300
Boca Raton, Florida 33431
Telephone: 561-443-0800
Facsimile: 561-998-0047
Email: bss@slp.law
Email: ependergraft@slp.law

Attorney Shraiberg is directed to serve a copy of this Confirmation Order on all parties in interest
and shall thereafter file a certificate of service with the Court.




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